Case 2:23-mc-51368-LVP-DRG ECF No. 14-3, PageID.1287 Filed 09/12/23 Page 1 of 3




           EXHIBIT 2
Case
 Case2:23-mc-51368-LVP-DRG
      1:22-cv-01343-CMH-IDD Document
                            ECF No. 14-3,
                                     62 PageID.1288
                                          Filed 07/17/23 Filed
                                                          Page 09/12/23
                                                                1 of 2 PageID#
                                                                         Page 2784
                                                                                of 3
Case
 Case2:23-mc-51368-LVP-DRG
      1:22-cv-01343-CMH-IDD Document
                            ECF No. 14-3,
                                     62 PageID.1289
                                          Filed 07/17/23 Filed
                                                          Page 09/12/23
                                                                2 of 2 PageID#
                                                                         Page 3785
                                                                                of 3
